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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 - - - - - - - - - - - - - - - - - - x
                                     :
 UNITED STATES OF AMERICA
                                     :          ORDER
        -v-
                                     :          S1 20 Cr. 18 (    )
 GEORGE BRIDI,
                                     :
                        Defendant.
                                     :

                                    :
- - - - - - - - - - - - - - - - - - x
    Upon the application of the United States, by the Acting

United States Attorney for the Southern District of New York,

Audrey Strauss, by Assistant United States Attorneys Andrew K.

Chan, Mollie Bracewell, and Christy Slavik;

    It is found that the Indictment in the above-captioned action,

S1 20 Cr. 18 (        ), is currently sealed and the United States

Attorney’s Office has applied to have that Indictment unsealed,

and it is therefore

    ORDERED that the Indictment, S1 20 Cr. 18 (           ), in the above-

captioned action be unsealed and remain unsealed pending further

order of the Court.

Dated:      New York, New York
            August 25, 2020

                                   ___________________________________
                                   __
                                    ___
                                      _ ___________________
                                   THE HONORABLE DEBRA FREEMAN
                                   UNITED STATES MAGISTRATE JUDGE
